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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                                      :
                v.                                    :      Case No. 1:21-cr00719-JEB
                                                      :
CYNTHIA BALLENGER, and                         :
CHRISTOPHER PRICE,                             :


                         NOTICE OF FILING
OF CERTIFICATE OF FAMILIARITY WITH FEDERAL SENTENCING GUIDELINES

        With this notice, Nandan Kenkeremath, counsel for Defendants in the above styled case,

files the attached Certificate of Familiarity with the Federal Sentencing Guidelines as described

in Local Criminal Rule 44.3(b). Note, Mr. Kenkeremath is not currently sole or lead counsel in

the instant case at the time of this filing.


Dated: April 11, 2022                          Respectfully submitted,



                                                      /s/ Nandan Kenkeremath
                                                      Nandan Kenkeremath
                                                      DC Bar 384732
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                                                      Alexandria, Virginia 22311
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                                                      Email: nandank@comcast.net

                                                      Counsel for Defendants
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                                      ATTACHMENT



        CERTIFICATE OF FAMILIARITY WITH SENTENCING GUIDELINES

       I, Nandan Kenkeremath, hereby certify that I am familiar with the Federal Sentencing

Guidelines.


Dated: April 11, 2022                              /s/ Nandan Kenkeremath
                                                   Nandan Kenkeremath
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